          Case 2:21-ms-00126 Document 4 Filed 11/16/21 Page 1 of 2


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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

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6     In re: Kevin D. Holtman                                Case No. 2:21-ms-00126
      Attorney at Law, Bar No. 11603
7                                                           ORDER OF SUSPENSION

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12          On October 4, 2021, this Court entered an Order to Show Cause (“OSC”), mailed

13   via certified mail with a Certified Mail Return Receipt. However, the Order to Show Cause

14   was returned from the United States Postal Service marked “Return to sender- Unable to

15   forward.” (ECF No. 3.) Regardless, the OSC provided Mr. Holtman with 30 days to

16   respond with reasons why he should not be suspended from the practice of law in this

17   Court. (ECF No. 1.) No response has been received from Mr. Holtman. Failure to respond

18   within 30 days warrants an Order of Suspension. See LR IA 11-7.

19          It is therefore ordered that Kevin D. Holtman, Bar No. 11603, is hereby suspended

20   from practice in United States District Court for the District of Nevada.

21          DATED THIS 16th Day of November 2021.

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                                               MIRANDA M. DU
24                                             CHIEF UNITED STATES DISTRICT JUDGE

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          Case 2:21-ms-00126 Document 4 Filed 11/16/21 Page 2 of 2


1                                  CERTIFICATE OF SERVICE

2    Pursuant to Fed. R. Civ. P. 5(b) and LR 5-1, I hereby certify that I am an employee of the

3    United States District Court, and that on this 16th day of November 2021, I caused to be

4    served a true and correct copy of the foregoing Order to Show Cause to the following

5    parties via Certified Mail, Return Receipt Requested via the United States Postal Service,

6    in a sealed envelope, postage prepaid, to the following address:

7                        Kevin D. Holtman
                         P.O. Box 371929
8                        Las Vegas, NV 89137
9

10         Certified Mail No.: 7021 0950 0001 6737 2536
11

12                              /s/ Lorena Q.
                                Deputy Clerk
13                              United States District Court,
14                              District of Nevada

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